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10

11
                               IN THE UNITED STATES DISTRICT COURT
12                       NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13 CALIFORNIA COALITION FOR WOMEN
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
14 G.M.; A.S.; and L.T., individuals on behalf of
   themselves and all others similarly situated,
15                                                  CASE NO. 4:23-CV-04155-YGR
                      Plaintiffs
16               v.
17 UNITED STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;        UNITED STATES’ RULE 60 MOTION FOR
18 BUREAU OF PRISONS DIRECTOR                       RELIEF FROM ORDER
   COLETTE PETERS, in her official capacity;
19 FCI DUBLIN WARDEN THAHESHA JUSINO,
   in her official capacity; OFFICER
20 BELLHOUSE, in his individual capacity;
   OFFICER GACAD, in his individual capacity;
21 OFFICER JONES, in his individual capacity;
   LIEUTENANT JONES, in her individual
22 capacity; OFFICER LEWIS, in his individual
   capacity; OFFICER NUNLEY, in his individual
23 capacity, OFFICER POOL, in his individual
   capacity, LIEUTENANT PUTNAM, in his
24 individual capacity; OFFICER SERRANO, in
   his individual capacity; OFFICER SHIRLEY, in
25 his individual capacity; OFFICER SMITH, in his
   individual capacity; and OFFICER VASQUEZ,
26 in her individual capacity,

27                         Defendants.
28

     U.S.’ RULE 60 MOTION FOR RELIEF

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 1            The federal Bureau of Prisons (BOP) respectfully requests relief from this Court’s Order at Doc.

 2 254-1 (Attachment A.1), filed under seal on April 15, 2024, pursuant to Fed. R. Civ. P. 60(b). A brief in

 3 support is concurrently filed.

 4            Dated this 16th day of April, 2024.

 5
                                                          JESSE A. LASLOVICH
 6                                                        United States Attorney
 7

 8                                                        /s/ Madison L. Mattioli
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     U.S.’ RULE 60 MOTION FOR RELIEF

30   4:23-cv-04155-YGR                                    2
